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                         UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF PENNSYLVANIA
______________________________
NAIMAH JONES                   :
1831 Carpenter Street          :          CIVIL ACTION
Philadelphia, PA 19146         :
                               :          NO.:
              vs.              :
                               :          PLAINTIFF REQUESTS A TRIAL
AMAZON                         :
500 American Avenue            :          BY JURY
King of Prussia, PA 19406      :
                               :
                               :
______________________________:


                                              COMPLAINT

      I.      PRELIMINARY STATEMENT:

           1. This is an action for an award of damages, declaratory and injunctive relief,

attorneys’ fees and other relief on behalf of Plaintiff, Naimah Jones. Plaintiff is a former

employee of Defendant, Amazon, who has been harmed by the Defendant’s discriminatory

employment practices.

              2.   This action arises under the Americans with Disabilities Act (“ADA”), as

      codified, 42 U.S.C.S. § 12101 et seq, and Shick v. Shirey, 552 Pa. 590 (1998).

II.        JURISDICTION AND VENUE

              3.   The jurisdiction of this Court is invoked, and venue is proper in this district,

      pursuant to 28 U.S.C. § 1391 as Plaintiff’s claims are substantively based on the Americans

      with Disabilities Act and Shick v. Shirey, 552 Pa. 590 (1998). This Court has supplemental

      jurisdiction over Plaintiff’s state law claim pursuant to 28 U.S.C. §1367. The claims raised

      under state and federal law constitute the same case and controversy.
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          4.   All conditions precedent to the institution of this suit have been fulfilled, such as

   exhausted Administrative remedies and obtaining “Notice of Suit Rights” letters from the

   U.S. Equal Employment Opportunity Commission (“EEOC”). Plaintiff Jones has satisfied all

   jurisdictional prerequisites to the maintenance of this action.

III.   PARTIES

       5. The Plaintiff herein is:

               Naimah Jones
               1831 Carpenter Street
               Philadelphia, PA 19146

       6. The Defendant herein is:

               Amazon
               500 American Avenue
               King of Prussia, PA 19406

       It is further averred that Plaintiff has worked for Defendant, which is a publicly traded

company, with numerous locations, one of which is located at 500 American Avenue, King of

Prussia, PA 19406.

IV.    ADDITIONAL UNDERLYING FACTS

          7.   The Defendant, upon information and belief, employed 50 or more persons when

   the unlawful conduct alleged in this Complaint occurred.

          8.   Plaintiff had been employed with Defendant, Amazon for five months.

          9.   Plaintiff was employed by Defendant as a stower at the time of her termination.

          10. At all times relevant hereto, the Defendant was acting through its agents, servants,

   and employees, who were acting within the scope of their authority, course of their

   employment, and under the direct control of the Defendant.
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             11. At all times material herein, Defendant is and has been a “person” and

     “employer” as defined under the ADA and is accordingly subject to the provisions of each

     Act.

V.          STATEMENT OF THE CLAIMS

             12. Paragraphs 1 through 11 are incorporated by reference, as if set forth at length.

             13. Plaintiff alleges that beginning on March 1, 2019, the Defendant, through its

     agents, servants, and employees, subjected her to discrimination violative of the ADA, and in

     retaliation ultimately terminated her on March 27, 2019, in violation of Shick v. Shirey, 552

     Pa. 590 (1998). The facts in support of these allegation include, but are not limited to the

     following:

VI.         UNDERLYING FACTS

             14. Plaintiff alleges that Defendant, through its agents, servants, and employees,

     subjected her to discrimination on the basis of her disability. Plaintiff further believes and

     avers that the Defendant terminated her employment in retaliatory fashion for her request to

     accommodate her disability and engaging in protected activity. These actions constitute

     violations of the Americans with Disabilities Act of 1990 (“ADA”) and Shick v. Shirey, 552

     Pa. 590 (1998).

             15. Plaintiff began employment with Defendant, Amazon, in November 2018.

     Plaintiff worked as a stower, where she organized packages and placed them onto shelves.

             16. On March 1, 2019, Plaintiff was within the course and scope of her employment,

     when she lifted a heavy package and sustained a work-related injury to her back.

             17. Plaintiff immediately felt a “pull” in her back, and reported her injury to her

     supervisors Jane and Scharish who had her fill out an incident report.
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       18. Scharish sent Plaintiff to Worknet on Reed Street in Philadelphia, where Plaintiff

was placed on light duty restrictions of no lifting over 10 lbs., limited pushing, pulling, lifting,

squatting and bending.

       19. Plaintiff returned to work and provided Jane with the doctor’s outlining her light

duty restrictions, which Defendant honored.

       20. On March 27, 2019, Plaintiff reported to work and Scharish assigned her to work

as a sorter, where the packages exceeded 10 lbs. Upon learning this, Plaintiff reminded

Scharish of her light duty restrictions. However, Scharish told her that she would be

responsible for the same workload as everybody else and ignored Plaintiff’s restrictions.

       21. Plaintiff attempted to work through her shift, but began having excruciating pain

from lifting packages outside her restrictions.

       22. She notified Abdul, area manager, that she was in too much pain and could not

continue as a sorter.

       23. Abdul told Plaintiff to speak with Scharish, and again Plaintiff approached

Scharish and requested her light duty restrictions be honored. Scharish, again, refused to

accommodate Plaintiff’s light duty restrictions.

       24. As a result of Defendant’s failure to honor her restrictions, Plaintiff returned to

work as a sorter for approximately half an hour, until she was physically unable to continue

lifting the packages.

       25. Plaintiff informed Scharish that if she was not going to be accommodated, she

was going to go home because she was in too much pain to complete the rest of her shift.
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       26. Scharish then began to lecture Plaintiff about how she had accumulated “too

many attendance points.” Plaintiff asked what Scharish meant, and Scharish said Plaintiff had

missed too many days at work.

       27. Plaintiff responded to Scharish by informing her that any issues with her

attendance had been rectified. Previously, Plaintiff had attendance issues in her record, but

such issues had been a result of errors with her ID card and had since been corrected.

       28. Scharish insisted that Plaintiff had “too many negative points” and terminated her

at the end of this conversation.

       29. Defendant neither provided Plaintiff with any ADA paperwork nor engaged in

any discussions with Plaintiff regarding her work restrictions.

       30. Upon information and belief, Defendant has a progressive termination policy. The

same was not applied consistently in Plaintiff’s case.

       31. At all relevant times following the March 1, 2019 work injury, Defendant was

aware of Plaintiff’s injury and physician-imposed restrictions and was looking for any reason

to terminate Plaintiff, regardless of the incident.

       32. Plaintiff was terminated due to her request for accommodations and filing of a

workers’ compensation claim; the given reason was pretextual.

                                           COUNT I

 DISCRIMINATORY TREATMENT AND DISCHARGE-ARISING UNDER THE
           AMERICANS WITH DISABILITIES ACT OF 1990
                  NAIMAH JONES V. AMAZON

       33. Paragraphs 1-32 are incorporated herein as if set forth at length.

       34. The Americans with Disabilities Act of 1990 prohibits discrimination on the basis

of disability. Plaintiff alleges violations based on disability as set forth below;
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         35. Plaintiff began her employment with Amazon (“Defendant”) as a full-time

employee in November 2018.

         36. During her employment with Defendant, Plaintiff performed her job functions in a

dutiful and competent manner and at all times maintained at least a satisfactory performance

level.

         37. Plaintiff was injured within the course and scope of her employment on March 1,

2019.

         38. Plaintiff was never given any ADA paperwork following her work-injury.

         39. Plaintiff had never experienced any issues or received any discipline prior to the

March 1, 2019 work-injury.

         40. After Plaintiff was placed on light-duty by Defendant’s physician following her

March 1, 2019 work-injury, her requests for accommodations were ignored and she was

forced to complete a full-duty job outside of her work restrictions starting on March 27, 2019.

         41. Upon information and belief, Defendant had positions available that would

accommodate Plaintiff’s disability.

         42. Plaintiff was terminated effective March 27, 2019.

         43. Defendant never engaged in any interactive process to accommodate Plaintiff’s

disability.

         44. Defendant informed Plaintiff that she would be terminated because she had

accumulated “too many points.”

         45. Defendant resented Plaintiff’s need for accommodations, and rather than engage

in an interactive process, Defendant offered a clearly pre-textual reason for terminating her.
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         46. Defendant terminated Plaintiff because of her disability and violated the ADA by

 not engaging in an interactive process to determine what accommodations she would require

 and whether there were positions she could perform.



                                          COUNT II

RETALIATION-DISCHARGE ARISING UNDER THE WORKERS’ COMPENSATION
                              ACT
                   NAIMAH JONES V. AMAZON

         47. Plaintiff incorporates paragraphs 1 through 46 as if set forth at length.

         48. Defendant, through its agents, employees, and/or servants, was made aware of

 Plaintiff’s medical condition and the work-related injuries sustained on March 1, 2019.

         49. Plaintiff was wrongfully terminated/discharged due to Plaintiff’s above-

 mentioned work injuries and her request for Workers’ Compensation benefits.

         50. Plaintiff’s light duty restrictions were not honored, and she was terminated in

 retaliation for filing a workers’ compensation claim.

         51. Further, the reason given to Plaintiff as the basis for her termination was clearly

 pretext for retaliation.

         52. Defendant’s retaliatory conduct and actions, including but not limited to,

 terminating Plaintiff due to seeking Workers’ Compensation benefits was taken in retaliation

 for Plaintiff asserting her legal rights in regard to the work injury on March 1, 2019.

         53. The actions and/or conduct in terminating/firing Plaintiff for the injuries sustained

 at work and within coverage of the Workers’ Compensation Act (“Act”), and/or for asserting

 her legal rights under the Act abridges a significant and recognized public policy as

 articulated in Shick v. Shirey, 552 Pa. 590 (1998).
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                                    PRAYER FOR RELIEF

       54.     Plaintiff incorporates paragraphs 1 through 53 as is set forth at length.

       WHEREFORE, Plaintiff requests that this court enter judgment in her favor against the

Defendant, and order that: Defendant compensate Plaintiff with back pay, at a rate of pay and

other benefits and emoluments of employment to which she would have been entitled had she

not been subjected to unlawful discrimination; Defendant compensate Plaintiff with an award of

front pay, if appropriate; Defendant pay to Plaintiff punitive damages, compensatory damages

for future pecuniary losses, pain, suffering, inconvenience, mental anguish, loss of enjoyment of

life and other nonpecuniary losses as allowable; Defendant pay to Plaintiff pre and post judgment

interest, the costs of suit and attorney and expert witness fees as allowed by law; Defendant shall

eliminate all unlawful discriminatory practices as well as remedy the discriminatory effect of

past practices and procedures; and the Court shall award such other relief as if deemed just and

proper, in law and/or equity, including injunctive relief if the Honorable Court deems said relief

appropriate.

                                        JURY DEMAND

       Plaintiff demands a trial by jury.

                                                                            Respectfully submitted,

                                                                         POND LEHOCKY, LLP

                                                                By. _________________________

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